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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

LAURICE WHITE,
                                                CASE NO.: 3:18-cv-00437-BJD-
              Plaintiff                         JBT
       v.

NRA Group, LLC,

            Defendant.
_____________________________________/


            MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

      Pursuant to Middle District of Florida Local Rule 2.03, the undersigned

respectfully moves the Court for leave to withdraw as counsel for Defendant, and

in support thereof states as follows:

      1.     Rule 4-1.16(b) of the Rules Regulating the Florida Bar allows

withdrawal if:

      (1)    withdrawal can be accomplished without material adverse effects on

             the interests of the client;

      (2)    the client insists upon taking action that the lawyer considers

             repugnant, imprudent, or with which the lawyer has a fundamental

             disagreement;

      (3)    the client fails substantially to fulfill an obligation to the lawyer

             regarding the lawyer’s services and has been given reasonable

             warning that the lawyer will withdraw unless the obligation is

             fulfilled;



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      (4)    the representation will result in an unreasonable financial burden

             on the lawyer or has been rendered unreasonably difficult by the

             client; or

      (5)    other good cause for withdrawal exists.

      2.     In this case, continued representation of Defendant will result in an

unreasonable financial burden on undersigned counsel. Defendant has failed to

pay its attorney’s fees in spite of receipt of timely billing statements, multiple

requests for payment, and representations that payment would be forthcoming.

      3.     This matter is in its infancy. There are no pending motions, and no

discovery has occurred. No deadlines will be delayed by the granting of this

motion, and Defendant’s material interests will not be adversely affected by

counsel’s withdrawal.

      4.     In accordance with Local Rule 2.03(b), undersigned counsel

respectfully submits that on July 5, 2018, she provided notice of her intention

to seek leave to withdraw to Defendant and to opposing counsel by email.

      5.     In accordance with Local Rule 3.01(g), undersigned counsel

respectfully submits that Plaintiff does not object to this Motion.

      WHEREFORE, undersigned counsel respectfully requests that this Court

enter an Order granting her request for leave to withdraw as counsel for

Defendant.

                            MEMORANDUM OF LAW

      Courts have the discretion to allow counsel to permissively withdraw from

representation. Johnson v. Sea Court Mgmt., LLC, 2016 U.S. Dist. LEXIS 19670


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(M.D. Fla. 2016).     Pursuant to Florida Bar Rule 4-1.16, a lawyer may be

permitted to withdraw from a case where (i) the withdrawal can be accomplished

without material adverse effect on the interests of the client, (ii) the client fails to

substantially fulfill an obligation to the lawyer regarding the lawyer’s services

and has been given reasonable warning that the lawyer will withdraw unless the

obligation is fulfilled, (iii) the representation will result in an unreasonable

financial burden on the lawyer or has been rendered unreasonably difficult by

the client, or (iv) other good cause for withdrawal exists. Put differently, courts

may permit counsel to withdraw if such withdrawal will not prejudice the client

or good cause exists. In re Davis, 258 B.R. 510, 513-14 (Bankr. M.D. Fla. 2001).

Pursuant to Local Rule 2.03(b), an attorney may withdraw as counsel for a party

in a case or proceeding by written leave of court and after ten (10) days’ notice

to the party or client affected thereby and notice to opposing counsel.

      Good cause exists here. In spite of the transmission of timely and detailed

billing statements to Defendant, follow-up requests for payment, and

representations by Defendant that payment would be forthcoming, Defendant

has failed to pay its attorney’s fees as promised. Undersigned counsel attempted

to address this issue on several occasions, in recognition of the fact that seeking

leave to withdraw representation should be a last resort. Unfortunately, such

efforts were unsuccessful, and counsel’s fees remain unpaid. The results in an

unreasonable financial burden to counsel. 1


1 Should the Court require additional information, undersigned counsel will
promptly provide such detail in camera in order to avoid any breach of the
attorney-client privilege.
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      In addition, Defendant will incur no prejudice if counsel is afforded leave

to withdraw. This matter is in its early stages, with trial more than a year away.

See DE 10, Case Management and Scheduling Order. Defendant will have ample

opportunity to retain replacement counsel.      Moreover, undersigned counsel

recognizes her obligation to continue representing Defendant until the Court

gives her leave to withdraw, and thus respectfully submits that until the Court

permits withdrawal, this case will continue to progress in accordance with all

established case management deadlines. Thus, not only will Defendant incur no

prejudice, but neither the Court nor Plaintiff will experience any unnecessary

delay should counsel be permitted to withdraw.

      Finally, undersigned counsel respectfully submits that on July 5, 2018,

she provided written notice of her intention to seek leave to withdraw to

Defendant, as well as to opposing counsel, in accordance with Local Rule 2.03(b).

      WHEREFORE, undersigned counsel respectfully requests that this Court

enter an Order granting her request for leave to withdraw as counsel for NRA

Group, LLC.

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(G)

      In accordance with Local Rule 3.01(g), I respectfully certify that I have

conferred with counsel for Plaintiff who does not object to this Motion.

                               Respectfully submitted,

                               BARRON & NEWBURGER, P.C.

                         By:   /s/ Lauren M. Burnette
                               LAUREN M. BURNETTE, ESQUIRE
                               FL I.D. No. 120079

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                             St. Johns, FL 32259
                             (904) 201-9120
                             lburnette@bn-lawyers.com
                             Counsel for Defendant


Dated: July 19, 2018


                        CERTIFICATE OF SERVICE
     I certify that on July 19, 2018, a copy of the foregoing document was

served on all counsel of record via CM/ECF; upon Defendant by email; and upon

Defendant by U.S. Mail, postage prepaid, to NRA Group, LLC, 2491 Paxton

Street, P.O. Box 67015, Harrisburg, PA 17106-7015.


                             BARRON & NEWBURGER, P.C.


                       By:   /s/ Lauren M. Burnette
                             LAUREN M. BURNETTE, ESQUIRE
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                             Counsel for Defendant

Date: July 19, 2018




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